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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

     UNITED STATES OF AMERICA

     vs.                                         CASE NO. 6:07-CR-171-ORL-19KRS

     NOEL RODRIGUEZ-CERVANTES
     a/k/a Atero Ramirez
     a/k/a Noel Delgado

                                             ORDER

             This case having been considered by the Court on Report and Recommendation

     Concerning Plea of Guilty (Doc. No. 42, filed December 5, 2007) and no objection thereto

     having been filed, it is ORDERED:

             1.    The Report and Recommendation of the United States Magistrate Judge (Doc.

     No. 42) is ACCEPTED, AFFIRMED AND ADOPTED.

             2.     Defendant Noel Rodriguez-Cervantes has entered a plea of guilty to Count

     One of the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

     Defendant is adjudicated guilty of Count One of the Indictment.

             DONE AND ORDERED at Orlando, Florida, this            7th       day of December,

     2007.




     Copies to:
     Assistant United States Attorney
     Attorney for Defendant
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     United States Marshal
     United States Probation
     United States Pretrial Services
     Defendant
     Courtroom Deputy
